429 F.2d 30
    McDONNELL DOUGLAS CORPORATION et al., Petitioners,v.Howard POLIN, Respondent, and The Honorable A. LeonHigginbotham, Jr., Nominal Respondent, and Louis J. Cutrona,Richard D. Mange, R. A. Olsen, William D. Prosnitz and KeeveM. Siegel, Additional Nominal Respondents.CONDUCTRON CORPORATION et al., Petitioner,v.Howard POLIN, Respondent, and The Honorable A. LeonHigginbotham, Jr., Nominal Respondent, and Louis J. Cutrona,R. A. Olsen, Richard D. Mange, Keeve M. Siegel and WilliamD. Prosnitz, Additional Nominal Respondents.
    Nos. 18797, 18798.
    United States Court of Appeals, Third Circuit.
    Argued June 2, 1970.Decided July 10, 1970, Rehearing Denied Aug. 19, 1970.
    
      Veryl L. Riddle, Bryan, Cave, McPheeters &amp; McRoberts, St. Louis, Mo.  (Morgan, Lewis &amp; Bockius, Philadelphia, Pa., Donald A. Scott, Howard L. Shecter, Philadephia, Pa., Thomas S. McPheeters, Jr., St. Louis, Mo., on the brief), for petitioners.
      William T. Coleman, Dilworth, Paxson, Kalish, Kohn &amp; Levy (Edward F. Mannino, Harold E. Kohn, Philadelphia, Pa., Marcus Manoff, Dilworth, Paxson, Kalish &amp; Levy, Philadelphia, Pa., on the brief), for respondent.
      Before GANEY, FREEDMAN and SEITZ, Circuit Judges.
      OPINION OF THE COURT
      PER CURIAM:
    
    
      1
      These petitions for writs of mandamus seek to compel the nominal respondent either '(1) to transfer the cases pending in the district court to the Eastern District of Missouri, pursuant to 28 U.S.C. 1404(a) or (2) rule finally upon the motion for transfer prior to the commencement of discovery upon the merits of the action.'
    
    
      2
      The lower court held that all matters of discovery should be fully completed before any action is taken on the said motion pending inquiry into the merits thereof either by discovery or by preliminary rulings on questions of law.
    
    
      3
      To undertake a consideration of the merits of the action is to assume, even temporarily, that there will be no transfer before the transfer issue is decided.  Judicial economy requires that another district court should not burden itself with the merits of the action until it is decided that a transfer should be effected and such consideration additionally requires that the court which ultimately decides the merits of the action should also decide the various questions which arise during the pendency of the suit instead of considering it in two courts.
    
    
      4
      Therefore, we feel it is not proper to postpone consideration of the application for transfer under 1404(a) until discovery on the merits is completed, since it is irrelevant to the determination of the preliminary question of transfer.  Even if on the motion to transfer certain factual questions appear, and though the inquiries may overlap, they should not be merged and wise discretion should be exercised in preventing such discovery from leading into the merits of the claim.
    
    
      5
      While the lower court did not decide specifically the motion to transfer, but postponed it until the depositions relating to the merits were resolved, this amounted to a failure to decide the transfer issue until a later stage of the case.
    
    
      6
      The district court's order, therefore, should be vacated and the motion to transfer under 1404(a) should be considered and decided after giving both parties an opportunity to complete their discovery solely with respect to the question of transfer, and then only if the court should deny the motion to transfer should discovery be permitted to go forward.
    
    
      7
      The issuance of a formal writ of mandamus is unnecessary here as we expect Judge Higginbotham, the nominal respondent, to vacate the order of February 4, 1970, denying without prejudice the motion to transfer under 1404(a) and to carry out the views expressed in this opinion.
    
    